 1 MARLIN & SALTZMAN, LLP
     Stanley D. Saltzman, Esq. (SBN 90058)
 2 29800 Agoura Road, Suite 210
 3 Agoura Hills, California 91301
   Telephone: (818) 991-8080
 4 Facsimile: (818) 991-8081
   ssaltzman@marlinsaltzman.com
 5
     JAMES R. HAWKINS, APLC
 6 James R. Hawkins, Esq. (SBN 192925)
 7 Gregory E. Mauro, Esq. (SBN 222239)
     9880 Research Drive, Suite 200
 8 Irvine, California 92618
   Telephone: (949) 387-7200
 9 Facsimile: (949
   james@jameshawkinsaplc.com
10
   greg@jameshawkinsaplc.com
11
     LAW OFFICES OF SHAUN SETAREH
12 Shaun Setareh, (SBN 204514)
13 9454 Wilshire Boulevard, Penthouse Suite 1
   Beverly Hills, CA 90212
14 Telephone: (310) 888-7771
   Facsimile: (310) 888-0109
15 shaun@setarehlaw.com
16 Attorneys for Plaintiffs GILBERT SAUCILLO, et al.
17
                      IN THE UNITED STATES DISTRICT COURT
18
                         CENTRAL DISTRICT OF CALIFORNIA
19
20 JOHN BURNELL, JACK POLLOCK,                   CASE NO. 5:10-CV-00809-VAP (OPx)
21 and all others similarly situated,            (Related to Case No. EDCV 12-00692-
                                                 VAP-OPx)
22               Plaintiffs,                     (Assigned to Hon. Virginia A. Phillips)
23                                               DECLARATION OF GILBERT
     v.                                          SAUCILLO IN SUPPORT OF
24
                                                 PLAINTIFFS’ MOTION FOR FINAL
25 SWIFT TRANSPORTATION CO. OF
                                                 APPROVAL OF CLASS ACTION
                                                                                           Case 5:10-cv-00809-VAP-OP Document 227-4 Filed 11/18/19 Page 1 of 4 Page ID #:4011




26 ARIZONA, LLC,                                 SETTLEMENT
27
                                                 Complaint Filed: March 22, 2010
                 Defendant.                      Trial Date:         None Set
28

                                             1
                                         DECLARATION OF GILBERT SAUCILLO
                                                Case No. 10-cv-00809-VAP(OPx)
 1         I, Gilbert Saucillo, hereby declare and state:
 2         1.     I am an individual over the age of eighteen. I am a named plaintiff in this
 3 lawsuit. I have personal knowledge of the matters stated herein and, if called upon, I could
 4 and would competently testify thereto.
 5      2.    I began working as a driver for Defendant Swift Transportation Company of
 6
     Arizona, LLC (‘Swift”) in April of 2006, earning mileage based pay for my work during
 7
     most the time I worked for Swift. I lived in California during the entire time I worked for
 8
     Swift. I joined this lawsuit as a named plaintiff in 2013 after contacting attorneys at
 9
     Marlin & Saltzman because I was concerned about being underpaid.
10
           3.      I have been an active participant in this case and have assisted in the
11
     investigation of this case by providing responses to interrogatories and document requests.
12
     I provided documents to my attorneys on an on-going basis throughout the case. During
13
14
     the course of the case, I conferred numerous times with my attorneys and their paralegal to

15 review facts relevant to the case, and to timely complete all discovery requests that were
16 served upon me throughout the litigation.
17         4.      I had my deposition taken twice, once on December 12, 2015 and again on
18 February 10, 2106. Each time, I met beforehand with Mr. Saltzman, one of my attorneys
19 from Marlin & Saltzman, in order to prepare for my deposition. Due to the distance, I
20 stayed in a Los Angeles hotel the night before each deposition. I estimate I spent at least
21 45 hours travelling to and attending my depositions.
22         5.     In January 2016, I assisted my lawyers in preparing the Motion for Class
23 Certification by providing a Declaration in Support of Plaintiffs’ Motion, and by helping
24 to get declarations from other drivers to support the Motion for Class Certification.
25
           6.     As preparations were made to conduct mediation, I made myself available for
                                                                                                   Case 5:10-cv-00809-VAP-OP Document 227-4 Filed 11/18/19 Page 2 of 4 Page ID #:4012




26
     mediation by phone.
27
           7.     Throughout the litigation, I have always had the best interests of the entire
28
     group of drivers (the class) in mind and I have worked hard on their behalf. This lawsuit
                                                2
                                             DECLARATION OF GILBERT SAUCILLO
                                                    Case No. 10-cv-00809-VAP(OPx)
 1 took longer than I expected, as my attorneys have explained to me that many complex and
 2 new issues in the case had to be resolved by the Court. I have remained in regular contact
 3 with Plaintiffs’ counsel at Marlin & Saltzman throughout the case, and recognize Mr.
 4 Saltzman’s cell phone number whenever he calls. I also spoke often with their senior
 5 paralegal Susan Joseph.
 6
           8.     Throughout the case, I spent many hours on the telephone, in person, and/or
 7
     by correspondence, discussing case developments, and providing insight into Swift’s
 8
     operations, policies, practices and procedures. There were more conversations than I
 9
     could count over the many years. I estimate I spent at least 85 hours total on this matter.
10
           9.     I believe I provided considerable time and effort on behalf of thousands of
11
     class member drivers who stand to benefit from the Settlement Agreement. I willingly
12
     agreed to participate in this case with no guarantee of personal benefit. By filing this
13
14
     lawsuit, I understood that I could be exposing myself to the risk of retaliation or trouble

15 finding employment as a result of my role in this Action. Given the internet, it is quite
16 likely that any future employer will find out simply by “googling” my name that I acted as
17 a class representative in this action against a prior employer. I have also signed a general
18 release of all claims against Swift. I believe that the time, effort, and information I
19 provided to Class Counsel helped to make this Settlement possible.
20         10.    I support this Settlement and request that the Court approve the requested
21 incentive award.
22         I declare under penalty of perjury under the laws of the United States of America
23 that the foregoing is true and correct.
24 Executed this 18th day of November 2019 at __________________________
25
                                                    ____________________________
                                                                                                   Case 5:10-cv-00809-VAP-OP Document 227-4 Filed 11/18/19 Page 3 of 4 Page ID #:4013




26
                                                    GILBERT SAUCILLO
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                                                3
                                             DECLARATION OF GILBERT SAUCILLO
                                                    Case No. 10-cv-00809-VAP(OPx)
Case 5:10-cv-00809-VAP-OP Document 227-4 Filed 11/18/19 Page 4 of 4 Page ID #:4014
